Case 1:23-cr-00061-MN Document 93-1 Filed 03/11/24 Page 1 of 46 PageID #: 1942




                  EXHIBIT 1
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 2 ofPage
                                                               46 PageID
                                                                   2 of 46#: 1943

         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 1 of 45


                                      -2:24-mj-00166-DJA-




     1                         UNITED STATES DISTRICT COURT

     2                                DISTRICT OF NEVADA

     3

     4   UNITED STATES OF AMERICA,

     5                   Plaintiff,             Case No. 2:24-mj-00166-DJA


     6           vs .                           Las Vegas, Nevada
                                                February 20, 2024
     7   ALEXANDER SMIRNOV,

     8                   Defendant.             DETENTION HEARING

     9                                          CERTIFIED COPY

    10

    11

    12

    13                          TRANSCRIPT OF PROCEEDINGS

    14                      THE HONORABLE DANIEL J. ALBREGTS,
                             UNITED STATES MAGISTRATE JUDGE
    15

    16

    17

    18

    19   APPEARANCES:               See Next Page


    20   DIGITALLY RECORDED: Liberty Court Recorder
                                    3:02 p.m.
    21

    22   TRANSCRIBED BY:              PATRICIA L. GANCI
                                      (702) 385-0670
    23

    24
         Proceedings recorded by electronic sound recording, transcript
    25   produced by mechanical stenography and computer.



                           PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 3 ofPage
                                                               46 PageID
                                                                   3 of 46#: 1944
         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 2 of 45


                                     -2:24-mj-00166-DJA-




     1   APPEARANCES:

     2   For the Plaintiff

     3           LEO J. WISE, ESQ.
                 DEREK E. HINES, ESQ.
     4           CHRISTOPHER R. RIGAL I, ESQ.
                 SEAN F. MULRYNE, ESQ.
     5           U.S. DEPARTMENT OF JUSTICE
                 950 Pennsylvania Avenue NW, Room B-200
     6           Washington, DC 20530
                  ;771) 217-6091
     7
         For the Defendant:
     8
                 DAVID CHESNOFF, ESQ.
     9           RICHARD A. SCHONFELD, ESQ.
                 CHESNOFF & SCHONFELD
    10           520 S. 4th Street
                 Las Vegas, Nevada 89101
    11           (702) 384-5563

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25


                           PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 4 ofPage
                                                               46 PageID
                                                                   4 of 46#: 1945

         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 3 of 45


                                     -2:24-mj-00166-DJA-




     1        LAS VEGAS, NEVADA; TUESDAY, FEBRUARY 20, 2024; 3:02 P.M.

     2                                     —o0o--

     3                            PROCEEDINGS

     4              THE COURT: Thank you. Please be seated.


     5              COURTROOM ADMINISTRATOR: United States of America

     6   versus Alexander Smirnov, 2:24-mj-166-DJA. This is a detention


     7   hearing.


     8              Counsel, make your appearance for the record, please.


     9              MR. WISE: Good afternoon. Your Honor. Leo Wise, Derek


    10   Hines, Christopher Rigali, and Sean Mulryne for the United


    11   States.


    12              THE COURT: Good afternoon.


    13              MR. CHESNOFF: May it please the Court, Your Honor.


    14   David Chesnoff/ Richard Schonfeld, and also with us Peter Levitt


    15   here on behalf of Mr. Smirnov.


    16              THE COURT: All right. Thank you. Good afternoon.


    17   Good afternoon, Mr. Smirnov.


    18              All right. This matter is scheduled for the continued


    19   detention hearing this afternoon. However, a couple of other


    20   matters have been filed that I want to resolve here before we


    21   begin. Specifically, at Dockets Number 9, 10, 11, and 12 the


    22   Government has filed motions to admit all four Government


    23   attorneys. I will grant those here today. So 9, 10, 11, and 12


    24   are granted.


    25              Additionally, there was a motion to file documents



                            PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 5 ofPage
                                                               46 PageID
                                                                   5 of 46#: 1946

        Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 4 of 45


                                     -2:24-mj-00166-DJA-




     1 I under seal filed by -- on behalf of the United States at


     2 | Document Number 13.


     3 I Mr. Chesnoff, did the Defense receive and review the


     4 | motion to file some of the documents related to their filing


     5 [ today under seal?


     6[ MR. CHESNOFF: Yes, Your Honor.


     1 I THE COURT: Does the Defense have an opposition to


     8 I that?

     9| MR. CHESNOFF: No, Your Honor.


    10 I THE COURT: All right. Well, I've reviewed the motion


    11 I and I've reviewed the documents. I do note that the request to


    12 | seal does not outline the Ninth Circuit case law that I believe


    13 | would apply, Kamakana and its progeny. But when I apply


    14 | Kamakana and its progeny/ I do think that sealing these


    15 | documents would be appropriate in this case.


    16 | I will of course remind the parties, as you well know,


    17 | that there's a presumption of access to the courtroom documents


    18 | and the public having access to those filings. And the Ninth

    19 | Circuit outlines standards that I am to employ when deciding to


    20 | change that and to seal things. And so I have done that


    21 | analysis. And I do believe it's appropriate to seal Exhibits 1,


    22 ] 3, 4, 5, 6, 7, and 10 given the information that's contained in


    23 | there and my analysis of the case law as it applies to those


    24 | exhibits. So I will grant Number 13 as well and allow those


    25 | documents to be filed under seal.



                           PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 6 ofPage
                                                               46 PageID
                                                                   6 of 46#: 1947

        Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 5 of 45


                                     -2:24-mj-00166-DJA-




     1 I So the parties are aware, I have also reviewed the


     2 | Defense's motion for release, which is found at Number 8. I


     3 | reviewed the Government's memorandum in support of detention/


     4 | which is found at Number 15. And I reviewed a filing that


     5 I Mr. Chesnoff and Mr. Schonfeld entered later this afternoon at


     6 | Document 16, which is a response.


     7 | Mr. Chesnoff, as it relates to that response, you note


     8 | that the Government's was filed this morning, mid to late


     9 | morning, and that you didn't have time to respond in whole to


    10 I the memorandum and the hundreds of pages of exhibits that were


    11 I attached thereto given that it was just filed this morning.


    12 | Are you prepared to proceed today with the detention


    13 | hearing notwithstanding that or would you be requesting some


    14 | more time to review and consider those -- those documents?


    15 | MR. CHESNOFF: Your Honor, considering the fact that


    16 I he's been held for this many days when we believe that he should


    17 | have been released and the report that we have from Pretrial


    18 | Services, we'll -- we'll waive any defect in not being able to


    19 | fully respond. We feel our arguments will cover enough of it to


    20 | satisfy the Court, Your Honor.


    21 I THE COURT: All right.

    22 | All right. With that/ then, I will hear from the

    23 | Government regarding release or detention.


    24 I MR. WISE: Thank you, Your Honor.


    25 I The Government has moved for the defendant's detention



                           PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 7 ofPage
                                                               46 PageID
                                                                   7 of 46#: 1948
         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 6 of 45


                                     -2:24-mj-00166-DJA-




     1   pursuant to 3142(f)(2)(A) and (B) because there is a serious

     2   risk the defendant will flee and a serious risk the defendant


     3   will obstruct justice. Applying the 3142 (g) factors to the

     4   facts presented in the Government's memorandum in support of


     5   detention compels the conclusion that there are no conditions or


     6   combination of conditions that will reasonably assure the


     7   defendant's appearance. Therefore, pursuant to Section 3142 (e)


     8   he should be detained pending trial.


     9             As we outline in our papers, detention is appropriate


    10   where a defendant is either a danger to the community or a


    11   flight risk. It is not necessary for the Government to prove


    12   both. And while the former requires clear and convincing


    13   evidence, the latter is accomplished by a lower standard, by a


    14   preponderance of the evidence. And, again, as we cite in our


    15   memorandum, that means, and this is the District of Idaho case


    16   we cite, that the Government must demonstrate that it is more


    17   likely than not that there is a serious risk that the defendant


    18   will flee, not that it is more likely than not that the


    19   defendant will flee.


    20              I'll briefly address the 3142(g) factors which we

    21   discuss at greater length in our memorandum. First as we


    22   outline, the nature and circumstances of the offense in this


    23   case support detention. In any situation, in any case, pretrial


    24   supervision is based on trust, and the defendant has


    25   demonstrated he can't be trusted. And this is something I'll



                           PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 8 ofPage
                                                               46 PageID
                                                                   8 of 46#: 1949
         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 7 of 45


                                     -2:24-mj-00166-DJA-




         come back to.


                     Here, the defendant lied to his FBI handler after a


         nearly 10-year relationship. This is someone with whom he had


         nearly daily contact/ somebody whom the defendant has described


         as family. If he's willing to betray someone under those


         circumstances, how can the Court have any confidence that he


         will provide truthful information to a Pretrial Services officer


         he has never met when his liberty is at stake?


     9               As to the weight of the evidence against the defendant,


    10   and this is also summarized in -- in our papers and cites


    11   extensively to the speaking indictment, the evidence in this


    12   case will come from the defendant's own travel records, e-mail


    13   messages with his handler and others, and from travel records


    14   e-mails and messages with the individuals that he claimed


    15   participated in these meetings and phone calls where these


    16   outrageous allegations were made.


    17               The trial won't be a swearing contest between the


    18   defendant and these witnesses/ although witnesses will refute


    19   the defendant's story in no uncertain terms. But the


    20   Government's witnesses will be corroborated by these documents


    21   and other unimpeachable evidence, and the defendant's story


    22   won't be.


    23               Turning to the history and characteristics of the


    24   defendant. Defense counsel asserts in his motion for pretrial


    25   release that Smirnov has significant ties to the United States,



                            PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 9 ofPage
                                                               46 PageID
                                                                   9 of 46#: 1950
         Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 8 of 45


                                     -2:24-mj-00166-DJA-




     1   but he does not. His family members live in Israel. He doesn't


     2   own any property here. He doesn't have a job here. According


     3   to his own motion for pretrial release, the only relation they


     4   can point to is a cousin in Florida/ but that doesn't make for


     5   significant ties.


     6             Now, while a consideration of these factors alone


     7   compels detention, the extraordinary characteristics of the


     8   defendant that we've outlined in our memorandum make it clear


     9   that there are no conditions that will reasonably assure his


    10   appearance. And I'll address these in more detail.


    11              First, his self-professed claims of ties to foreign


    12   intelligence services including Russian intelligence; the


    13   between 3 million and $6 million in liquid funds he access to;


    14   three, the fact that he didn't disclose those assets to Pretrial


    15   Services or to the Court, and I'll address the defendant's


    16   recent reply on at least they only address the Pretrial Services


    17   disclosure and that, too, was deficient regardless of what's in


    18   their reply; and, finally, the fact that as a dual national he


    19   can obtain an Israeli passport at any time after he surrenders


    20   it.


    21              Turning first to I think what is the most extraordinary


    22   feature of this defendant, his contacts with foreign


    23   intelligence. His contacts with foreign intelligence services,


    24   specifically Russian intelligence services and operatives,


    25   distinguish his case from the two cases cited by the defendant



                            PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 10 Page
                                                             of 46 PageID
                                                                   10 of 46#: 1951
        Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 9 of 45


                                     -2:24-mj-00166-DJA-




      1 I in his motion for release, Karnl and Hanson. And I would


      2 | venture to guess that a situation like this has probably never


      3 | been presented to the Court.


      4 | Those contacts are regular and recent. In our


      5 | memorandum we quoted recently declassified FBI reporting


      6 I summarizing the defendant's contact with Russian intelligence


      7 | and others, and most notably his recent -- his most recent


      8 | election disinformation story, the one he told the FBI in


      9| September 2023 about the Premier Palace Hotel in Kyiv and the

     10 I recordings of Businessperson 1, came after he met with Russian


     11 I intelligence.

     12 [ Again, these contacts make this defendant different


     13 | from other defendants who merely have foreign ties, and they


     14 | heighten the risk of flight dramatically. And that is because

     15 | he can use these contacts with foreign intelligence services to


     16 | flee and to resettle overseas, something I would again venture


     17 | to say is almost unique in the presentation of a defendant being


     18 | considered for the pretrial release.


     19 I THE COURT: So let's say that happens. You don't think


    20 | that the Federal Government would have the ability to find him

    21 | and take action to bring him back? You think that these Russian


    22 | ties that you're talking about are the type of people that would


    23 | literally take him and secrete him from prosecution?


     24 | MR. WISE: If he were to resettle in Russian, we


     25| couldn't extradite him. Russian won't extradite under these



                            PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 11 Page
                                                             of 46 PageID
                                                                   11 of 46#: 1952

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 10 of 45

                                                                                 10
                                      -2:24-mj-00166-DJA-




      1   circumstances.


      2              If he were to resettle in other -- in third countries,


      3   we couldn't extradite him. And so, yes, I think that is the


      4   case.



      5              THE COURT: All right. Go ahead. I'll --


      6              MR. WISE: That's even assuming we could find him.


      7   That's even assuming we could find him.


      8              THE COURT: You think the long arm of the United States

      9   of America couldn't find him on this planet?


    10               MR. WISE: Yes. I think the best thing we have going


    11    for us is the idea that people think we have that long arm, and


    12    having been in Government for 17 years, I'm routinely astonished


    13    at how short it is.


    14               THE COURT: All right. Go ahead.


    15               MR. WISE: The next factor that makes this defendant


    16    extraordinary is his access to funds and, worse, the fact that


    17    he didn't disclose these assets to Pretrial or to the Court last


    18    week.


    19               Now, to be clear, the defendant's PSR says he has


    20    access to $6,500, $1,000 or $1,500 cash on hand and $5,000 in a


    21    checking account.


    22               He actually has access to approximately $3 million in


    23    a -- in an account in the name of the Avalon Group where he is


    24    the sole signatory. We received a balance on that account as of


    25    this morning. It has $2,886,893.18. And contrary to what is in



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 12 Page
                                                             of 46 PageID
                                                                   12 of 46#: 1953
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 11 of 45

                                                                                 11
                                      -2:24-mj-00166-DJA-




      1   the reply the Defense filed, this is not a business account. He


      2   uses it to pay personal expenses.


      3               As we outlined in our filing, he's withdrawn $175,000


      4   in cash out of it. He's transferred more than 2.6 million to


      5   his girlfriend who has then used that money to purchase the


      6   million dollar condominium they live in, to make credit card


      7   payments which is his primary means of paying these personal


      8   expenses in the amount of more than $100,000 in 2022, more than


      9   $275,000 in 2023, and there is no discernible business activity


     10   in this account nor can he or his girlfriend actually articulate


     11   what his business is.


     12               The only personal checking account he appears to have


     13   has at last -- the last time we checked about $500 in it which


     14   is used only to make a very small recurring insurance payment.


     15   So this is his money. It is not the case that he was confused


     16   and thought this was a business account that he didn't have to


     17   disclose.


     18               And, further, even if there was some confusion with


     19   Pretrial/ which I submit there was not, these are his funds. We


     20   haven't seen the financial affidavit, but I have what -- I've


     21   seen what these financial affidavits that he filled out and


     22   submitted to Your Honor say. And it says: "Cash and bank


     23   accounts. Do you have any cash or money in savings or checking


     24   accounts?" Doesn't say personal accounts. Doesn't say business


     25   accounts. It says: "Cash or save" -- it says: "Cash or money




                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 13 Page
                                                             of 46 PageID
                                                                   13 of 46#: 1954
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 12 of 45

                                                                                 12
                                      -2 :24-mj-00166-DJA-




      1   in savings or checking accounts." And he does.


      2              THE COURT: Does the Government think -- well/ let me


      3   ask first. Does the -- do you have any knowledge about what


      4   happens from the time of the arrest till the time of the initial


      5   appearance a few hours later?


      6              MR. WISE: In what -- I'm sorry.


      7              THE COURT: Well, just how the Pretrial interview goes


      8   and -- and the discussions and, you know, the time constraints


      9   that people are -- I mean, you're so certain that these are just


     10   blatant misrepresentations when there might have -- why wouldn't


     11   it possibly be confusion when he's just been arrested, he's been


     12   taken into custody, and somebody shows up and starts asking him


     13   questions?


     14              MR. WISE: So if someone asked me what kind of funds I


     15   had access to and I had $3 million in an account and I told them


     16   I had $6,000 in an account, I think it would --


     17              THE COURT: I don't know that they ask him what kind of

     18   funds he has access to. The questions are: Do you have a


     19   savings account? Do you have a checking account? And what's in


     20   them? I mean, I've sat in on these interviews for many, many


     21   years.


     22              MR. WISE: And I think any defendant that was looking


     23   to be forthcoming would say, "I have this account that I use to


     24   pay my personal expenses out of. I have this account that I've


     25   transferred millions of dollars to the woman I live with to that



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 14 Page
                                                             of 46 PageID
                                                                   14 of 46#: 1955
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 13 of 45

                                                                                 13
                                      -2:24-mj-00166-DJA-




      1   she's used to purchase the home we live in." I think -- I've


      2   heard these questions and I think they absolutely would call for


      3   this information.


      4              THE COURT: Okay.

      5              MR. WISE: And then when he sat in front of Your Honor


      6   and Your Honor asked him before appointing -- and as I said, we


      7   haven't seen the affidavit, but I'm fairly certain it didn't


      8   have $6 million on it or Your Honor wouldn't have appointed CJA


      9   for him. It says: "Do you have any cash or money or savings or


    10    checking accounts?" And he clearly did have that and he


     11   chose -- he chose not to disclose that information.


     12              And, in addition/ the balance in the DL -- what we


     13   refer to as the DL account as of today is an additional


     14   $3,784,218.51. And we see this pattern of him taking money out


     15   of the Avalon account, buying cashier's checks, giving it to DL.


     16   She then goes to a nearby branch within 30 minutes and deposit


     17   it, which makes it look like there's some kind of business


     18   relationship between her and this Avalon Group, but not with


     19   him.


    20               THE COURT: Did you ever call Pretrial or reach out to


    21    Pretrial to ask about the circumstances of the questions to


    22    determine whether there might have been misunderstandings or


    23    that the questions weren't as direct so that it's not as clear


     24   in your mind that he 's flat-out lying to them?


     25              MR. WISE: Your Honor, my approach to Pretrial is that



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 15 Page
                                                             of 46 PageID
                                                                   15 of 46#: 1956

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 14 of 45

                                                                                 14
                                      -2:24-mj-00166-DJA-




      1   they have a job to do as an agency of the Court, and I wouldn't


      2   be comfortable asking them to essentially become witnesses


      3   against the defendant under those circumstances. So I


      4   typical -- I haven't done that.


      5              THE COURT: All right. Fair enough.


      6              MR. WISE: But I think it is very clear that these are


      7   his funds as we outline --


      8              THE COURT: Okay. So -- and you've made that clear in


      9   there. So move on past the funds. I understand that argument.


     10              MR. WISE: And the other things -- you know, the other


     11   thing he said -- he made a number of statements to Pretrial that


     12   were untrue. He, for instance/ said this condominium was leased


     13   by the girlfriend when we know in fact it was purchased by her


     14   with his funds. And Defense counsel even had to concede that in


     15   their -- in their filings. So we've got lies, sort of/ big and


     16   small in his very first instance of interacting with the Court,


     17   when one would think you would err on the side of providing all


     18   of the information that might be necessary so that one might be


     19   released on conditions.


     20              In short, the evidence that the defendant can't be


     21   trusted to abide by conditions and provide truthful information


     22   to Pretrial Services isn't speculation. He's shown that he


     23   can't be trusted by providing misinformation to his handler, and


     24   in his first interaction with Pretrial Services and the Court he


     25   withheld information that shows he has access to millions of



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 16 Page
                                                             of 46 PageID
                                                                   16 of 46#: 1957

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 15 of 45

                                                                                 15
                                      -2:24-mj-00166-DJA-




      1   dollars that he could use if he were to flee the United States.


      2              I'd like briefly now to turn, if Your Honor would like,


      3   or I can depending on how Your Honor -- the sequence, I can turn


      4   to some of the arguments made in the defendant's motion for


      5   pretrial release or I can wait until after they go, whatever


      6   Your Honor would prefer.


      7              THE COURT: You argue how you feel appropriate.


      8              MR. WISE: Sure.


      9              So I'm not going to address all of the arguments. Some


     10   of them I think are -- are sort of on their face ones that I


     11   think I don't need to address, but the first -- the first thing


     12   I will note is that the defendant argues that the Government


     13   knew about Mr. Smirnov's alleged conduct for years, yet, took no


     14   steps to end his cooperation, seize his passports, or prosecute


     15   him for anything. And the Defense argues that should be kept


     16   firmly in mind when, as expected, the Government reverses course


     17   in this bail proceeding and suddenly protests that Mr. Smirnov


     18   now presents an extreme flight risk.


     19              So the mistake the defendant makes is in thinking that


     20   the Government is a monolith. The FBI is divided into field


     21   offices and the Department of Justice and to U.S. Attorney's


     22   Offices. And while both organizations have some coordinating


     23   functions in Washington, they're limited.


     24              And to be clear, in this case the defendant was the


     25   source for an agent based out of the Seattle field office and he



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 17 Page
                                                             of 46 PageID
                                                                   17 of 46#: 1958

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 16 of 45

                                                                                 16
                                      -2:24-mj-00166-DJA-




      1   volunteered information about Burisma, volunteered, to that


     2    agent in 2017 which the agent recorded. Later in 2020 the FBI'S


     3    Pittsburgh field office was conducting an assessment of


      4   information being provided by the public concerning the Ukraine,


      5   most notably Rudolph Giuliani, and reached out to the


      6   Seattle-based handler and asked him to interview the defendant


      7   about the defendant's 2017 reporting. And what the Seattle


      8   agent learned he reported back to the Pittsburgh Agent in June


      9   of 2020.


    10               And -- and the FBI in Pittsburgh took some limited


    11    investigative steps, but their steps were limited by the fact


    12    that they were only conducting an assessment, which under FBI


    13    policies is not an investigation. And it prevents, for


    14    instance, the use of compulsory process like grand jury


    15    subpoenas or the compulsion of testimony. So based on that


    16    limited review, the FBI closed its assessment in August.


    17               Fast-forward to July of 2023, that's when the FBI asked


    18    the U.S. Attorney's Office in the District of Delaware to assist


    19    in evaluating the claims in the 2020 1023. And in August the


    20    U.S. Attorney for the District of Delaware was made Special


    21    Counsel by the Attorney General. Also in August investigators


    22    in Delaware spoke with the defendant's handler for the first


    23    time, and then in September investigators in Delaware spoke with


    24    the defendant, again, for the first time.


    25               After those meetings investigators began collecting



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 18 Page
                                                             of 46 PageID
                                                                   18 of 46#: 1959
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 17 of 45

                                                                                 17
                                      -2:24-mj-00166-DJA-




      1   evidence on the defendant's allegations, including for the first


      2   time with the benefit of the grand jury. And it was through the


      3   use of the grand jury that investigators in Delaware learned


      4   that the defendant was lying. So it is not the case that the


      5   defendant -- that the Government knew he was lying back in 2020


      6   and took no steps to address his conduct.


      7              THE COURT: So what was the date/ then, that you're


      8   saying you were aware that he was lying?


      9              MR. WISE: Just this fall, in a run up to these


     10   charges. We first met with him in September --


     11              THE COURT: That's the September 23rd -- September 2023


     12   meeting you're talking about?


     13              MR. WISE: Yes, Your Honor.


     14              THE COURT: All right.

     15              MR. WISE: That was the beginning -- after speaking


     16   with the handler in August that was really the beginning of the


     17   grand jury investigation, and then evidence was collected


     18   shortly thereafter that led to the presentation of these


     19   charges.


     20              THE COURT: All right.

     21              MR. WISE: Now/ in addressing the 3142(g) factors,


     22   specifically the nature and seriousness of the offense, the


     23   defendants argues that "These allegations are make-weight and


     24   politically motivated. They do not involve espionage or theft


     25   and are, thus, not serious."




                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 19 Page
                                                             of 46 PageID
                                                                   19 of 46#: 1960
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 18 of 45

                                                                                 18
                                      -2:24-mj-00166-DJA-




      1              I didn't know what make-weight meant so I looked it up.


      2   According to Miriam Webster, the meaning of make-weight is


      3   something thrown into a scale to bring the weight to a desired


      4   value. I have no idea what that means in this context. Maybe


      5   Your Honor does.


      6              And politically motivated, by whom? If Defense counsel


      7   is referring to his client's allegations, then we agree. His


      8   client's messages that are quoted in the indictment show


      9   political bias on his client's part.


     10              Or is the -- is Defense counsel referring to us, the


     11   Government in this case? And that would certainly be curious.


     12   We're prosecuting Hunter Biden on tax and gun charges, and his


     13   lawyers make the unfounded claim that we're working at the


     14   direction of former President Trump and Congressional


     15   Republicans, although they can never explain why or how.


     16              So then I guess what Defense counsel in this case is


     17   arguing is we're working at the direction --


     18              THE COURT: Are you saying Mr. Chesnoff and


     19   Mr. Schonfeld said that in their pleadings?


     20              MR. WISE: That's what they wrote. They wrote the


     21   charges in this case are make-weight and politically motivated.


     22              THE COURT: So -- but where do they -- okay. But I --


     23   you've taken that quite a bit beyond that they're saying -- what


     24   did you just say was . . .


     25              MR. WISE: Well, I'm trying to figure out -- it sounds



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 20 Page
                                                             of 46 PageID
                                                                   20 of 46#: 1961

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 19 of 45

                                                                                    19




      1   like they're      saying we're working at the direction of the White


      2   House and the Biden        campaign. And the other cases --


      3              THE COURT:        Is that a leap?


      4              MR.    WISE:    And the other cases -•


      5              THE COURT:        I guess you don't --


      6              MR.    WISE:    -- the Defense counsels are making     the

      7   opposite argument.


      8              THE COURT:       Well --


      9              MR.    WISE:    So we're sort of curious which it is.


     10              THE COURT:       Well, and I'm not getting into the    politics

     11   of this. I       have to make a determination under the Bail       Reform


     12   Act whether      he' s a   flight risk or a danger and whether,    if he

     13   is, there are conditions or a combination of conditions            to


     14   address that


     15              MR.    WISE:    Right.

     16              THE COURT:        So I have no time for the politics    of this

     17   case. I understand         the underlying charges. There's a      component


     18   to that. But I'm not going to spend a lot of time here             talking

     19   about the politics.


     20              MR.    WISE:    Good. Because when we saw that, we      were


     21    shocked that     he would make the accusations --


     22              THE COURT:        So go on and continue with your argument.


     23              MR.    WISE:    Now, the Defense counsel calls the     charges


     24   not serious,      which begs the question is he serious. The

     25   defendant's      lies have captured --




                               PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 21 Page
                                                             of 46 PageID
                                                                   21 of 46#: 1962

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 20 of 45

                                                                                 20
                                      -2:24-mj-00166-DJA-




      1              THE COURT: All right. I'm not going to get personal


      2   with the attacks on counsel. All right? Let's keep it to the


      3   facts and the law. You don't need to make snide remarks about


      4   "is he serious." And I'm not going to tolerate that from either


      5   side .


      6              MR. WISE: Understood, Your Honor.


      7              The defendant's lies in this case have captured the


      8   national imagination. And while the -- while the filing says


      9   they do not involve espionage, of course the charges do involve


     10   foreign intelligence services. The defendant claims to have met


     11   with Russian intelligence agencies on multiple occasions, and


     12   the U.S. intelligence community has concluded that Russian


     13   intelligence interfered in the 2020 election and continues to


     14   interfere in our elections by spreading misinformation.


     15              And I can supplement the record with these two public


     16   reports, but in January of 2017 the Office of the Director of


     17   National Intelligence made public a declassified version of a


     18   highly classified assessment regarding Russia's efforts to


     19   interfere in the 2016 presidential election. And in 2020 the


     20   ODNI published a similar declassified report regarding the 2020

     21   U.S. presidential election. And one of the key judgments of


     22   that report, which was expressed with high confidence, was that


     23   Putin authorized and a range of Government organize -- and a


     24   range of Russian government organizations conducted influence


     25   operations aimed at denigrating President Biden's candidacy and



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 22 Page
                                                             of 46 PageID
                                                                   22 of 46#: 1963

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 21 of 45

                                                                                 21
                                      -2:24-mj-00166-DJA-




      1   the Democratic Party, supporting former President Trump,


      2   undermining public confidence in the electoral process, and


      3   exacerbating sociopolitical divisions in the United States. And


      4   that's a quote from that report that we can file as a supplement


      5   to the direct -- for the record.


      6              Now, the defendant also argues for release, in part,


      7   based on where the defendant is currently housed. That's


      8   premised on the idea that he'll actually stay in that location,


      9   and I don't think that's correct. I think he was brought to


     10   that location temporarily/ but if he were detained, I believe he


     11   would be detained in the Central District of California, not in


     12   the District of Nevada. And so whatever the conditions are at


     13   that facility I don't think bear on --


     14              THE COURT: I think that's correct. If he's detained,


     15   he'll under Rule 5 be transferred to the Central District of


     16   California and they'll have the decision as to where he's housed


     17   and incarcerated -- or detained. I shouldn't say incarcerated.


     18   Detained pending trial. But go ahead.


     19              MR. WISE: And the issue -- and this came up in the


     20   previous hearing. You know, the issue of the defendant's --


     21   where he is detained, the conditions under which he is detained,


     22   those are all things that the Marshals or the Bureau of Prisons


     23   or we can work with Defense counsel to address. They are not


     24   factors that the law or the statute recognizes as bearing on


     25   whether he poses a risk of flight or whether there are



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 23 Page
                                                             of 46 PageID
                                                                   23 of 46#: 1964
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 22 of 45

                                                                                 22
                                      -2:24-mj-00166-DJA-




      1   conditions that can reasonably assure his appearance.


      2              In the last hearing we discussed the fact that he is,


      3   as the indictment makes clear/ or was a confidential informant.


      4   And we take -- we take security seriously. We take safety


      5   seriously. And those -- those issues need to be addressed and


      6   will be addressed, but none of that bears on the determination


      7   of whether he poses a serious risk of flight which for all of


      8   the reasons we identify in our motion we believe he does.


      9              THE COURT: And why -- there's no addressing -- and I


     10   think I know the answer, but I'd like to hear it from you -- no


     11   addressing the conditions that Pretrial suggests and why, you


     12   know, with the idea that it's -- Bail Reform Act, it's the least


     13   restrictive, you know, that I have to consider and the least


     14   restrictive conditions. Why won't some of the things that they


     15   recommended address these things? Is it just the trust issue or


     16   is there something more?


     17              MR. WISE: So the trust issue is at the heart of it,


     18   Your Honor, but as we said, I mean, when you combine the


     19   resources he has access to/ the fact that he can travel


     20   internationally on the second passport -- and as we point out,


     21   there is -- there is literally no way to prevent that. And this


     22   is a problem that's present with dual nationals where they can


     23   go into a consulate. They can say they lost their passport.


     24   They'll be issued another passport. There's no way that the


     25   Government -- our Government learns of that. There's no way




                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 24 Page
                                                             of 46 PageID
                                                                   24 of 46#: 1965

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 23 of 45

                                                                                 23
                                      -2:24-mj-00166-DJA-




          that there can be a stop at the border over that. It simply


          IS --


                      THE COURT: What if I put geographical limits on where

          he can go and we monitor that so that the minute he leaves Clark


          County Pretrial's notified of that?


                      MR. WISE: My understanding of the technology is that


          it's not that -- it is limited, that there are lags, that there


          are -- you know, that the geographic space is not tight enough


          to know if someone is in an airport as opposed to some other


     10   location.


     11               My experience with that is not that it's as precise as


     12   one would -- would think or hope.


     13               THE COURT: All right. All right.

     14               MR. WISE: But as I said. Your Honor, you know, usually


     15   the arguments are someone's whole family is here, their whole


     16   life is here, their job is here, this is where their/ you know,


     17   livelihood comes from. We've seen none of that in this case.


     18   And that's why to answer Your Honor's question, I think -- I


     19   think the conditions simply -- simply don't reasonably assure


     20   his appearance.


     21               And if -- if we could -- I mean. Defense counsel when


     22   he called me on Friday said, "Is there some" -- "Are there some


     23   conditions that we could agree on?" If we could, we would. I


     24   mean, this is not hyperbole. If we thought there was some way


     25   that we could reasonably assure that he would appear in this



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 25 Page
                                                             of 46 PageID
                                                                   25 of 46#: 1966

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 24 of 45

                                                                                 24
                                      -2:24-mj-00166-DJA-




      1   proceeding, that would be where we'd go. But in light of the


      2   contact with foreign intelligence, in light of the $6 million in

      3   funds, in light of our experience so far with him, we simply


      4   don't believe that's the case.


      5              THE COURT: All right. Thank you very much.


      6              MR. WISE: Thank you. Your Honor.


      7              THE COURT: Mr. Chesnoff, Mr. Schonfeld. One or the


      8   other, not both, please.


      9              MR. CHESNOFF: May it please the Court.


     10              Your Honor/ it's amazing to me that the question the


     11   Court asked about the power of the Government to find somebody


     12   is so limited that to have the Government's position adopted by


     13   the Court would mean that nobody who they are concerned could


     14   run ever gets out. And that's not the Ninth Circuit law. The


     15   Court is well aware it's the least restrictive. The idea that


     16   someone cannot be geographically controlled, I've had multiple


     17   cases, as the Court knows, where people have been restricted not


     18   to go to a bus station, not to go to an airport, not to rent a


     19   car.



     20              I have with me. Your Honor, his Israeli passport which


     21   I secured so that we could give it to Pretrial. The idea that


     22   the Court cannot make a condition that says you are not to apply


     23   for a new passport, U.S. or Israeli, happens all the time. Your


     24   Honor. Judges impose those conditions. If the Court could not


     25   impose those conditions/ the Bail Reform Act, Motamedi and all



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 26 Page
                                                             of 46 PageID
                                                                   26 of 46#: 1967

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 25 of 45

                                                                                 25
                                      -2:24-mj-00166-DJA-




      1   of its progeny, would have no meaning at all, at all.


      2              I'm old enough. Your Honor, to have remembered when the


      3   Bail Reform Act was enacted in 1984. I did a deep dig into the


      4   legislative history. The legislative history of the Bail Reform


      5   Act, it was created to protect flight and danger from a small


      6   and discrete group of people, either violent offenders, people


      7   with prior records, people who had history of not showing up in


      8   court.


      9              We have a gentleman who's an American citizen. He has


     10   an Israeli passport as well which he's willing to turn in. He's


     11   lived in L.A. where this case is for 16 years. He's lived here


     12   for two years. He lives with his significant other who's


     13   present in court.


     14              I -- I -- the Court observed the idea of what happened


     15   in the beginning. His English is better than hers, but it's not


     16   the best. I don't think an interpreter was supplied to him


     17   during any of the interviews . I know for a fact that when his


     18   significant other spoke to Pretrial, she had the limited ability

     19   to communicate. I got her in my office. I got someone who


    20    spoke Russian. She then gave all the right and truthful answers


     21   to Pretrial Services.


     22              Your Honor, we asked Pretrial Services about this


     23   question of financial disclosure because when we read their


     24   motion this morning, both Mr. Schonfeld and I said, "What


     25   happened here?" So we contacted the Pretrial officer. We asked



                             PATRICIA L. GANCI       :702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 27 Page
                                                             of 46 PageID
                                                                   27 of 46#: 1968
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 26 of 45

                                                                                 26
                                      -2:24-mj-00166-DJA-




      1   to meet with her. And we asked her specifically, "Did you ask


      2   him about any other account than a personal account?" And the


      3   officer was candid and said no. It's exactly why my client


      4   answered the question the way he did because he was not asked


      5   about anything else.


      6              THE COURT: What about Mr. Wise's point, and I think


      7   there's some legitimacy to it, that, you know, you're in there


      8   talking that maybe he thinks, "Well, should I talk about these


      9   other accounts? You know, they're asking me about money" --


     10              MR. CHESNOFF: Perhaps, if I had been there with him,


     11   Your Honor/ because he didn't have counsel with him, I wasn't


     12   there, then those issues would be ferreted out. We would have


     13   explained to him the importance of being as complete as


     14   possible. But in this instance it was completely not his fault


     15   that the question was not asked, and he responded truthfully to


     16   the question.


     17              Their suggestion that somehow that should lead the


     18   Court to question his overall truthfulness considering the


     19   context, the language/ the fact that the Pretrial officer made


     20   her own evaluation of him when she spoke to him and has


     21   recommended to you that he be released, answers that question in


     22   my opinion. Your Honor.


     23              Your Honor/ the fact that they can document foreign


     24   travel, the Court can't lose sight of the fact that a lot of the


     25   foreign travel was at their behest. So it's kind of like a



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 28 Page
                                                             of 46 PageID
                                                                   28 of 46#: 1969

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 27 of 45

                                                                                 27
                                      -2:24-mj-00166-DJA-




      1   catch 22. We're going to let you go there. We're going to send


     2    you there. We're going to use you for our purposes, which is


      3   what they did. And now they turn around and tell Your Honor,


      4   "See, he travels everywhere."


      5              The other thing that they said was that the handler

      6   somehow found out now that he was untruthful. But for 10 years,


      7   Your Honor, apparently, he was truthful. Now, the question of


      8   whether he's not truthful now has not been decided. And as the


      9   Court knows, that's a factual question which is the least


    10    important factor that this Court should consider. And I can


    11    tell you. Your Honor/ that there will be a vehement defense to


    12    the argument that in fact he was not truthful. He had this


    13    personal relationship with the handler. It was so personal,


    14    Your Honor, that he wouldn't even call him on his FBI phone; he


    15    would call him on his personal phone. So we're going to dig


    16    down once we start defending this case and we're going to find


    17    out who knew what when.


    18               Now, when we made the suggestion. Your Honor, that he


    19    deserves to be out because of the fact that he needs to defend


    20    himself and the housing situation, I can tell you. Your Honor, I


    21    visited the MDC in L.A. for years representing clients. The


    22    conditions there are even tougher than the conditions in Pahrump


    23    vis-a-vis attorneys. The waiting period of time sometimes to


    24    see a client is hours upon hours.


    25               If they are going to have him in PC like they do in



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 29 Page
                                                             of 46 PageID
                                                                   29 of 46#: 1970

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 28 of 45

                                                                                 28
                                      -2:24-mj-00166-DJA-




      1   Pahrump, which I assume they will since they've managed to put


      2   out to the entire world his cooperation without any concern for


      3   his safety, but ultimately he is safer out as opposed to being


      4   in a detention facility in a major metropolitan city where I can


      5   tell you/ Your Honor, I would be concerned about his safety.


      6              THE COURT: I know there's constitutional


      7   considerations when it talks -- you know, when we consider his


      8   right to meet with counsel and prepare for trial and look at


      9   documents. But how does that play into the Bail Reform Act and


    10    my decision that I have to make?


    11               MR. CHESNOFF: I can tell you. Your Honor.


    12               It's almost a due process question that comes into


    13    conflict maybe with just looking at the Bail Reform Act as the


    14    only thing the Court considers. I cited to a case called U.S.


    15    v. Kinney where a State Court was holding somebody/ and the


     16   Court decided that because of social reality it would be harder


     17   for a Defense attorney to speak to witnesses because the


     18   defendant came from a community that was foreign to the Defense


     19   lawyer.


    20               In this case. Your Honor/ we are going to need to speak


     21   to people in foreign countries that don't speak English, that


     22   speak Russian. Not to have the -- and I can tell you. Your


     23   Honor, the MDC in L.A. is not going to allow us to be calling


     24   Kyiv from the MDC with our client to speak to people.


     25              So the -- the harm to him in defending himself against



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 30 Page
                                                             of 46 PageID
                                                                   30 of 46#: 1971
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 29 of 45

                                                                                 29
                                      -2:24-mj-00166-DJA-




      1   -- and. Your Honor, when we say "not serious," obviously we're


      2   in Federal Court. It's a federal crime. What we're talking


      3   about. Your Honor, is this. Our guideline calculations show


      4   that at a max he's looking at three years. So when I say "not


      5   serious," it's not 10 years.


      6              Why would somebody risk a bail jumping charge on top of


      7   really an admission of guilt by fleeing when in reality the


      8   maximum punishment at the best with the guidelines is three


      9   years? It's even lower without all the potential enhancements.


    10    It's absurd. Your Honor.


    11               The only reason they want to keep him in is so that he


    12    cannot defend himself in a way which shows that the allegations


    13    that are being made against him are being made for whatever the


    14    Bureau's reasons, whatever Justice's reasons are. But he has a


    15    right. Your Honor, to straighten the record out as far as he's


    16    concerned/ especially in light of the 10 years of service that


    17    he gave to the United States Government and to the people of the


     18   United States.


    19               So to hold him in custody and restrict his ability to

    20    truly defend himself on a case where he's looking at 20 months/


    21    Your Honor, I -- I can't even really comprehend it.


    22               THE COURT: So when you said "serious" or "not serious"


    23    in your pleading, you were referring to the amount of time and


    24    the potential exposure as opposed to the underlying --


    25               MR. CHESNOFF: Yeah.



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 31 Page
                                                             of 46 PageID
                                                                   31 of 46#: 1972

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 30 of 45

                                                                                 30
                                      -2:24-mj-00166-DJA-




      1              THE COURT: -- current of the case and the political


      2   ramifications?


      3              MR. CHESNOFF: You know me -- known me a long time.


      4   I'm not belittling the seriousness that the Government feels


      5   about this. What I was talking about is the seriousness in


      6   terms of the ultimate --


      7              THE COURT: Potential.


      8              MR. CHESNOFF: -- potential problem.


      9               (Defense conferring.)


     10              MR. CHESNOFF: Mr. Schonfeld points out to me it's also


     11   not a presumption case. Your Honor, and that bespeaks the


     12   recommendation that has been made by Pretrial.


     13              Court's indulgence.


     14               (Pause.)


     15              MR. CHESNOFF: Your Honor, every condition that's


     16   required by the Ninth Circuit law in terms of history, no drug


     17   usage, no alcohol, none of the things that are indicia of danger


     18   or flight exists. There's not a single representation. Your


     19   Honor, that he's ever committed a violent act, nothing, in the


     20   10 years of his service with the FBI.


     21              THE COURT: What -- you know, they raise a good point


     22   about being concerned about his access -- so let's set aside the


     23   disclosures to Pretrial and whether or not the circumstances


     24   rise to the level of he's not trustworthy such that I'll detain


     25   him. That will be something I address here in a moment.



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 32 Page
                                                             of 46 PageID
                                                                   32 of 46#: 1973

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 31 of 45

                                                                                 31
                                      -2:24-mj-00166-DJA-




      1              But really, I mean, it's legitimate to say he's got


     2    access to a lot of money and he knows a lot of people that might


     3    be willing to help him out. I mean, how do I address those


      4   concerns that the Government's raised?


      5              MR. CHESNOFF: Your Honor, he's on electronic


      6   monitoring. He's at -- we've offered, we suggest, third-party


      7   custodian. His lady friend is present in court. I've explained


      8   to her the implications of that, that she has an obligation to


      9   the Court if in fact he is doing anything that he's not supposed


    10    to do. I don't know what more you can do other than -- Your


    11    Honor, anybody can -- anybody can run. That's a fact. The fact


    12    that he has connections overseas, that can be addressed by the


    13    Court in terms of the conditions it sets: You stay -- this is


    14    where you're staying. This is what you're wearing.


    15               Your Honor, you can even limit in terms of phone usage


    16    if you want. Your Honor. There are things that can be done/ but


    17    the idea that somehow he's going to escape and the United States


    18    Government is not going to find him, I mean, they got I don't


    19    know how many people are here --


    20               THE COURT: Yes, but counsel raises a good point that


    21    even though they know he's in Russia, they can't get him back.


    22               MR. CHESNOFF: Well, I have a feeling the idea of him


    23    going to Russia is not really such a good idea for him since


    24    they've revealed that he helped the United States vis-a-vis


    25    Ukraine, and I don't think Russia's going to be too happy about



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 33 Page
                                                             of 46 PageID
                                                                   33 of 46#: 1974
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 32 of 45

                                                                                 32
                                      -2:24-mj-00166-DJA-




      1   that.


      2              THE COURT: Well/ that's -- that's a relevant point.


      3   All right. Go ahead.


      4              MR. CHESNOFF: Your Honor, I -- I think that the Court


      5   should follow the recommendation. I think that the Court


      6   understands that this is a situation where a man deserves an


      7   opportunity to truly defend himself. And he's never shown


      8   anybody that he has any disrespect for a courtroom or a Court.


      9   And the question of the veracity issue, that's the try -- that's


     10   the case, but that's not been proven. We just had a -- that's


     11   not proven.


     12              THE COURT: All right.

     13              MR. CHESNOFF: Thank you/ Your Honor.


     14              THE COURT: All right, Mr. Wise. Anything in response?


     15              MR. WISE: Just briefly. Your Honor.


     16              Counsel started with saying -- holding up the Israeli


     17   passport saying/ "Well, the Court can impose a condition that


     18   you can't get a new passport." But of course the issue is you


     19   can impose the condition, but you can't police it. And that's


     20   what makes the problem of dual nationality particularly unique.


     21              As to the question of a GPS anklet or bracelet, in


     22   addition to the technology not being as precise as one might


     23   assume in 2024, defendants can and do cut them off and then they


     24   alarm, but it's not like law enforcement can instantly respond.


     25   And in any location that's near a major city with an



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 34 Page
                                                             of 46 PageID
                                                                   34 of 46#: 1975
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 33 of 45

                                                                                 33
                                      -2:24-mj-00166-DJA-




      1   international airport, the amount of response time is usually


      2   not -- is usually not short enough that it would prevent someone


      3   from going to an international airport or a location where they


      4   could -- where they could use air travel.


      5              Counsel mentioned that the foreign -- what he calls the


      6   foreign travel was at our behest. Well, let me be very clear


      7   this -- we're not talking about foreign travel. What we point


      8   out is that the defendant self -- he claims himself to have all


      9   of these contacts with foreign intelligence services. He


     10   volunteers that information to the handler.


     11              And, for instance, this most recent trip where he came


     12   back with this new disinformation story was absolutely of his


     13   own doing. And -- and he pushed that story when we met with him


     14   in September, and it shows that the bad conduct is not, as


     15   counsel says in their memorandum, limited to 2020. It is much


     16   more recent and much more -- and much more pronounced.


     17              Counsel says, you know/ that the Court can somehow


     18   address how he could have contact with overseas witness -- with


     19   folks overseas. I have no idea how that could be addressed by a


    20    court in the United States whose jurisdiction is limited to the


    21    United States. Counsel said there could be limits on phone


    22    usage. You can go to a kiosk in a mall and buy a burner phone.


    23    He was actually communicating over Signal and Telegram. Those


    24    are web-based applications that the Court would have no ability


    25    to police or prevent.



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 35 Page
                                                             of 46 PageID
                                                                   35 of 46#: 1976

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 34 of 45

                                                                                 34
                                       -2:24-mj-00166-DJA-




      1               You know, while counsel claims, I guess -- I mean, in


     2    addition -- and I hear him say now that the "serious" comment


      3   was about the -- the sentence, but that's -- that's not actually


      4   what he wrote. He wrote: "These allegations are make-weight


      5   and politically motivated. They do not involve espionage or


      6   theft and are, thus, not serious."


      7               That's -- that's his words. And he -- he actually


      8   ascribes bad motives to us. He says the only reason we want to


      9   keep him in is so that he can't defend himself, and he mentioned


    10    improper motives of the Bureau. I wasn't quite following what


    11    he meant.


    12                MR. CHESNOFF: Your Honor/ could you ask him to stop?


    13    Like, suggest -- enough is enough.


    14                THE COURT: I'm allowing some leeway. Let's finish the


    15    argument.


    16                Counsel.


    17                MR. WISE: Third-party custodians that are wives or


    18    intimate partners are in the worst possible position one could


    19    be in. And I've seen this in case after case. To ask someone


    20    to --


    21                THE COURT: I'm not going to do a third party. If I


    22    release, that's not going to be a condition so go ahead.


    23                MR. WISE: Okay. Putting someone in that position I


    24    think is really untenable.


    25                So I don't think that any of the -- any of the



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 36 Page
                                                             of 46 PageID
                                                                   36 of 46#: 1977

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 35 of 45

                                                                                 35
                                      -2:24-mj-00166-DJA-




     1    suggestions that counsel make even come close to addressing the


     2    risks that this defendant presents for all the reasons we've


     3    outlined.


     4                THE COURT: All right. Thank you.


     5                Mr. Chesnoff, briefly.


      6               MR. CHESNOFF: Yeah, just briefly. It's not just


     7    Chesnoff who says it; it's Pretrial that says it. Your Honor.


      8               THE COURT: On the release?


      9               MR. CHESNOFF: Yeah.


    10                THE COURT: Understood. All right.


    11                (Pause.)


    12                THE COURT: Well, as the parties know, my decision is


    13    based upon what the Bail Reform Act tells me to consider and to


    14    apply to this particular case and this particular defendant,


    15    Mr. Smirnov, and his personal characteristics and history.


    16    There's two prongs to that. The first -- or I'll take the


    17    second which is generally the second, which is the danger prong,


    18    requires the Government to provide evidence of clear and


    19    convincing evidence that he's a danger to the community. That's


    20    not what they've asked or argued, and that's not what any of the


    21    parties have raised.


    22                And so while one may argue the underlying politics of


    23    the case or the danger to our system as a whole or to the free


    24    elections or some of those issues, and while those may be issues


    25    that are ripe for intelligent, honest discussion, they aren't a



                             PATRICIA L. GANCI - ('702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 37 Page
                                                             of 46 PageID
                                                                   37 of 46#: 1978

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 36 of 45

                                                                                 36
                                      -2:24-mj-00166-DJA-




     1    consideration for this Court under the Bail Reform Act as it


     2    relates to clear and convincing evidence of danger.


     3               And so I don't find that Mr. Smirnov is a danger


     4    notwithstanding the underlying allegations. I know the Pretrial


     5    report suggested that he could be a danger based upon the


      6   underlying allegations. And as the parties have acknowledged,


     7    Mr. Chesnoff has argued, and I've stated, the underlying facts


      8   under Ninth Circuit case law are the least important factor of


      9   all of the other factors to consider, except on the level that


    10    it relates to the trust factor that the Government argues.


    11               And so in terms of considering Mr. Smirnov's underlying


    12    actions, I think they do come into this idea of whether or not


    13    he can be trusted to the point where I would release him.


    14               I think it's pretty clear to this Court that


    15    Mr. Smirnov is a flight risk by a preponderance of the evidence.


    16    His dual citizenship, his possession of passports, his foreign


    17    ties, his extensive foreign travel, and some questions about his


    18    employment and where he makes his money I think clearly rise to


    19    the level that he's a risk of nonappearance by a preponderance


    20    of the evidence. The bigger question, obviously/ is whether or


    21    not there are conditions or a combination of conditions that can


    22    address those concerns.


    23               I do have concerns about his access to money and -- and


    24     some of the representations made to Pretrial on Thursday, but I


    25     also place those in the context of the case insofar as the



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 38 Page
                                                             of 46 PageID
                                                                   38 of 46#: 1979

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 37 of 45

                                                                                 37
                                       -2:24-mj-00166-DJA-




      1   language issue, the nature of the Pretrial interviews and how


     2    quickly they occur, he did not have counsel at the time, the


      3   context in which the questions were asked. I don't know that


      4   that rises to the level that I'm convinced that he was sitting


      5   there Thursday morning intentionally lying to Pretrial to keep


      6   them from knowing about his finances. I just -- I don't know


      7   that it rises to that level.


      8              The other concern, obviously, is the allegations and


      9   his relationship with his handler. I will tell you I cannot


    10    even begin to understand or know what goes on in a relationship


    11    between an FBI handler and somebody who's cooperating and the


    12    dynamics of that relationship. I would suspect it gets close.


    13    I don't know how it couldn't when you're working that close with


    14    people.


    15               I do on some level, like Mr. Chesnoff noted/ recognize


    16    that how he deals with his handler and the FBI and how they're


    17    dealing with him in that complicated context would probably be


    18    different than how he would treat a Court order or a Court


    19    decision and whether or not the lack of trust he showed


    20    according to the Government with his handler would rise to the


    21    level of a lack of trust that he would not follow my orders or


    22    violate them if I gave him that chance. I'm not convinced of


    23    that given the complex nature of that relationship.


    24               The Government has argued the nature and circumstances


    25    of the offense. They put about a quarter of their 28-page brief



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 39 Page
                                                             of 46 PageID
                                                                   39 of 46#: 1980

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 38 of 45

                                                                                 38
                                      -2:24-mj-00166-DJA-




      1   to discuss the nature and circumstances and the weight of the


      2   evidence. And, again, those are the least important factors for


      3   the Court to consider. And they argue that his ties to the


      4   community are weak, and they've argued that both in their


      5   pleading and here today such that there are no condition or


      6   combination of conditions that would address that. And then


      7   they raise the four others.


      8              I -- you know, I understand the concern about foreign


      9   intelligence agencies potentially resettling Mr. Smirnov outside


     10   of the United States/ his connections to them, but I think on


     11   some level that's speculative as well because, as Mr. Chesnoff


     12   points out, I don't know what Mr. Smirnov will be thought of in


     13   Russia/ but my guess is at this stage he probably thinks that's


     14   not the most attractive place to go either if he was in fact


     15   inclined to go hide somewhere.


     16              So while I notice and note that that's a concern and


     17   certainly raised by the Government that I should consider it, I


     18   just don't know in the context of what's happened in the last


     19   couple of weeks with his arrest and everything else that that is


    20    as grave a concern as the Government outlines.


     21              I've already addressed the concern about the money, and


     22   I'll have to make a decision here whether or not his access to


     23   those funds can be addressed with conditions. I've already


     24   addressed his disclosure of those and how that came about to


     25   Pretrial and the context in which I am placing that in. And



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 40 Page
                                                             of 46 PageID
                                                                   40 of 46#: 1981
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 39 of 45

                                                                                 39
                                      -2:24-mj-00166-DJA-




      1   then the Government argues that as a dual citizen he can walk


      2   into an Israeli consulate and obtain a passport and be gone.


      3   And/ again, the question is are there conditions that can


      4   address that.


      5              As the parties may or may not know, this Court, as do


      6   most courts across the country, when making these decisions puts


      7   a lot of stock into Pretrial Services and their investigation


      8   and their recommendations and their belief about whether or not


      9   they believe somebody can be supervised with conditions. And in


     10   this case Pretrial Services believes notwithstanding some of the


     11   issues that the Government's raised, and they acknowledge those


     12   issues, they believe that Mr. Smirnov can be supervised and that


     13   there are conditions that can be placed upon him if I were to


     14   consider his release today. And so that carries weight with the


     15   Court as well. As Mr. Chesnoff points out, it's not just


     16   Mr. Chesnoff saying his client should be released/ but Pretrial


     17   Services believes that conditions can be fashioned.


     18              And, again, I recognize the underlying political


     19   ramifications of this investigation in this case and what the


     20   Government believes the effect on our country and on our


     21   elections that this might have had. But, again, other than how


     22   that relates to the trust issue, which I've discussed, and as it


     23   relates to his relationship with his handler, I'm not sure that


     24   those factors are of huge importance to the Court in making my


     25   determination.



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 41 Page
                                                             of 46 PageID
                                                                   41 of 46#: 1982

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 40 of 45

                                                                                 40
                                       -2:24-mj-00166-DJA-




                     So, Mr. Smirnov, you know, there's a lot of different


          issues here. But I do think that I can fashion conditions for


          your release. You may or may not make a mockery of me when I do


          that, but that's not for my consideration either. And when I


          say "mockery," meaning you don't follow the conditions or you


          flee. And so I recognize that the Government's made some


          arguments, but I think that despite those conditions can be


          fashioned.


      9              But as you now know, under the Bail Reform Act -- and


    10    this may not be the end of it. They may decide to appeal this.


    11    But under the Bail Reform Act you can be detained/ and in a case


    12    like this, as Mr. Chesnoff has referenced, it could be a lot of


    13    time before they can be ready for a trial and that could be a


    14    long time that you're detained while that's pending.


    15               I'm finding today that the Government has not met their


    16    burden as it relates to conditions because I believe that


    17    conditions can be fashioned because Pretrial believes that, and


    18    so I'm going to give you that opportunity.


    19               But if you come back before this Court or a Court in


    20    the Central District of California, I can assure you that if it


    21    is proven you have violated any of those conditions, there will


    22    not be any hesitation to revoke your release and to remand you


    23    to custody. And listen to the conditions because there's going


    24    to be some more that are not in the Pretrial report.


    25               And I want to ask Pretrial, if we do the monitor travel



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 42 Page
                                                             of 46 PageID
                                                                   42 of 46#: 1983

          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 41 of 45

                                                                                 41
                                      -2:24-mj-00166-DJA-




      1   restrictions, I know Clark County is easier because of the


     2    different municipalities, but can we restrict him from the


      3   international airport as well?


      4              OFFICER MCKILLIP: Yes, Your Honor. We can put an


      5   exclusion zone around the airport so if he goes into the area of


      6   the airport, we will get notified.


      7              THE COURT: And that would be, say, without prior


      8   permission. So that if he with his lawyers say, "We're going to


      9   L.A. to appear or we're going to L.A. to work on the case, we'll


    10    be in the airport," that's something you can monitor as well?


    11               OFFICER MCKILLIP: Yes, Your Honor, as long as he tells


    12    us beforehand.


    13               THE COURT: Right.

    14               All right. I'm going to release you on your personal


    15    recognizance, which is just your signature and promise to appear


    16    in court and to follow these conditions. If you do not, that


    17    will be revoked and you will be detained.


    18               You will have time to go over these conditions with


    19    your officer and with your lawyers. I'm going to go through


    20    them somewhat quickly. If you don't understand everything, you


    21    will have time to talk to them and make sure you understand.


    22               First, you're to submit to supervision by Pretrial


    23    Services. You should report immediately to their office and


    24     follow their direction for supervision.


    25               I'm going to allow them to order you to seek



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 43 Page
                                                             of 46 PageID
                                                                   43 of 46#: 1984
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 42 of 45

                                                                                 42
                                      -2:24-mj-00166-DJA-




      1   employment. I have -- you're not going to be able to continue


      2   with your consulting business while this case is pending.


      3   You're going to have to figure out some other way to conduct


      4   business because I'm not going to allow foreign travel. In


      5   fact, I'm not going to allow any travel. So you need to seek


      6   employment that Pretrial approves and that's appropriate while


      7   this case is pending.


      8              You're to surrender your U.S. passport and your Israeli


      9   passport to Pretrial Services immediately. I believe that the


    10    Government took your United States passport. Mr. Chesnoff has


    11    your Israeli passport. He shall give that to Ms. McKillip upon


    12    the conclusion of this hearing.


    13               Number four, you shall not obtain a passport or any


    14    other international travel documents. Number five, I'm going to


    15    order you that your travel is restricted to Clark County,


    16    Nevada. And the reason I say "Clark County" is it's too


    17    difficult if you're in Las Vegas and you cross into Henderson or


     18   you cross into North Las Vegas, that could create an issue. So


     19   I'm going to allow the travel in dark County alone and exclude


    20    you from the airport.


    21               So if you are in the zone of the airport, and they'll


    22    explain the zones, they will be notified immediately.


    23    Government counsel may be correct that they can't do anything


    24    quickly, but my guess is they will try. So you are not allowed


    25    to go to that airport.



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 44 Page
                                                             of 46 PageID
                                                                   44 of 46#: 1985
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 43 of 45

                                                                                 43
                                      -2:24-mj-00166-DJA-




                     You can go to Los Angeles for court appearances in this


          case and to prepare your case, but for no other reason. So


          while this case is pending, you're in dark County, Nevada.


                     You are to avoid all contact directly or indirectly


          with any person who is or may be a victim or witness in the


          investigation or prosecution, and the Government will provide a


          list to you of who that is.


                     As it relates to the travel restriction, I'm going to


      9   order stand-alone monitoring with GPS. And again, as I've


    10    indicated, that will be restricted to Clark County and you will


    11    not be allowed to go to the airport.


    12               We need a tampering restriction on that/ don't we,


    13    Ms. McKillip? I think I might have one.


    14               (Pause.)


    15               OFFICER MCKILLIP: Yes, Your Honor. The defendant


    16    shall not tamper with, damage, or remove the monitoring device


    17    and shall charge the equipment according to the instructions


    18    provided by Pretrial Services.


    19               THE COURT: All right. And, next, the defendant shall


    20    pay all or part of the costs of the location monitoring program


    21    based upon his ability to pay as determined by Pretrial Services


    22    or the supervising officer.


    23               Ms. McKillip, do -- does Pretrial request any


    24    additional conditions to address the concerns that have been


    25    raised here today?



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 45 Page
                                                             of 46 PageID
                                                                   45 of 46#: 1986
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 44 of 45

                                                                                 44
                                      -2:24-mj-00166-DJA-




     1               OFFICER MCKILLIP: No, Your Honor, but just in


     2    reference to the condition about not allowed to go to the


     3    airport, we would just ask without prior permission just so that


      4   he could get there --


     5               THE COURT: Yes.


      6              OFFICER MCKILLIP: -- to California for court.


     7               THE COURT: Yes, without prior permission. But, again,


      8   the airport for that will only be to go to Los Angeles for court


      9   appearances, unless you find a need during the course of


    10    preparation for the defense that you need to travel somewhere


    11    else. But that will have to be outlined and get Court approval,


    12    Mr. Chesnoff.


    13               MR. CHESNOFF: We will file whatever is appropriate,


    14    Your Honor.


    15               THE COURT: All right.

    16               All right. Mr. Chesnoff, Mr. Schonfeld, any questions


    17    about these conditions?


    18               MR. CHESNOFF: No thank you, Your Honor.


    19               THE COURT: Mr. Smirnov, any questions about these


    20    conditions?


    21               THE DEFENDANT: No.


    22               THE COURT: All right. Anything else from the

    23    Government, Mr. Wise?


    24               MR. WISE: Your Honor, we would request -- respectfully


    25    request that you stay your order so that the Government can file



                             PATRICIA L. GANCI - (702) 385-0670
Case 1:23-cr-00061-MN
       Case 2:24-mj-00166-DJA
                       Document
                              Document
                                93-1 Filed
                                        24-1
                                           03/11/24
                                              Filed 02/22/24
                                                     Page 46 Page
                                                             of 46 PageID
                                                                   46 of 46#: 1987
          Case 2:24-mj-00166-DJA Document 20 Filed 02/21/24 Page 45 of 45

                                                                                 45
                                      -2:24-mj-00166-DJA-




      1   a motion for review in the court of original jurisdiction in the


     2    Central District of California before Judge Wright which we will


      3   do promptly.


      4              THE COURT: All right. That will be denied.

     5               Anything else?

      6              MR. WISE: No, Your Honor.


      7              THE COURT: Mr. Chesnoff, anything else?


      8              MR. CHESNOFF: No. Have a nice afternoon. Your Honor.


      9              THE COURT: All right. Court will be in recess.


    10               MR. SCHONFELD: Thank you.


    11               (Whereupon the proceedings concluded at 4:01 p.m.)


    12                                      --o0o—

    13             I, Patricia L. Ganci, court-approved transcriber, certify


    14    that the foregoing is a correct transcript transcribed from the


    15    official electronic sound recording of the proceedings in the


    16    above-entitled matter.


    17

    18             _/_s/^ PATRICIA L. GANCI          FEBRUARY 20, 2024
                      Patricia L. Ganci                     Date
    19

    20

    21

    22

    23

    24

    25


                             PATRICIA L. GANCI - (702) 385-0670
